     Case 1:21-cr-00154-NGG Document 18 Filed 05/03/21 Page 1 of 5 PageID #: 88


                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
KTF/SME                                            271 Cadman Plaza East
F. #2016R001900                                    Brooklyn, New York 11201



                                                   May 3, 2021


By Electronic Mail, FedEx and ECF

Jeremy Temkin, Esq.
Ryan McMenamin, Esq.
Morvillo Abramowitz
565 5th Ave
New York, NY 10017

               Re:    United States v. Jason Peltz
                      Criminal Docket No. 21-CR-154 (NGG)

Dear Mssrs. Temkin and McMenamin:

               Enclosed please find the government’s discovery in accordance with Rule 16 of
the Federal Rules of Criminal Procedure. The government requests reciprocal discovery from
the defendant.

I.       The Government’s Discovery

         A.    Statements of the Defendant

               On February 18, 2021, the government provided you with a form 302
summarizing the defendant’s statements to FBI agents on or about October 28, 2020, which was
Bates-stamped PELTZ_EDNY000000000001 through PELTZ_EDNY000000000005. On
February 27, 2021, the government provided you with a form 302 summarizing a search of the
defendant’s apartment by FBI agents on or about October 28, 2020, which was Bates-stamped
PELTZ_EDNY000000000081 through PELTZ_EDNY000000000084. These documents were
provided to defense counsel on the condition that the defendant could not possess copies. The
government hereby designates these documents as produced subject to the terms of the protective
order entered by the Court on April 22, 2021 (the “Protective Order”). See ECF Docket No. 17.
Any prior agreements regarding disclosure are superseded by the Protective Order.

         B.    The Defendant’s Criminal History

          Enclosed please find documents Bates-stamped PELTZ_EDNY000000000085 –
PELTZ_EDNY000000000095.
      Case 1:21-cr-00154-NGG Document 18 Filed 05/03/21 Page 2 of 5 PageID #: 89




            C.       Documents and Tangible Objects

                   Enclosed please find the following documents, which are produced subject to the
    terms of the Protective Order:

                  Description                         Beginning Bates               End Bates

Records from AT&T                              PELTZ_EDNY000000000096      PELTZ_EDNY000000000137

Records from Interactive Brokers               PELTZ_EDNY000000000138      PELTZ_EDNY000000003809

Records from National Financial Services LLC   PELTZ_EDNY000000003810      PELTZ_EDNY000000003976

Records from AT&T                              PELTZ_EDNY000000003977      PELTZ_EDNY000000007069

Records from Verizon Wireless                  PELTZ_EDNY000000007070      PELTZ_EDNY000000008017

Records from AT&T                              PELTZ_EDNY000000008018      PELTZ_EDNY000000049517

Records from E-Trade                           PELTZ_EDNY000000049518      PELTZ_EDNY000000049877

Records from Interactive Brokers               PELTZ_EDNY000000049878      PELTZ_EDNY000000054947

Audio Files from Interactive Brokers           PELTZ_EDNY000000054948      PELTZ_EDNY000000054976

Press releases related to various stocks       PELTZ_EDNY000000054977      PELTZ_EDNY000000054990

Records from Interactive Brokers               PELTZ_EDNY000000054991      PELTZ_EDNY000000057919

Records from COR Clearing                      PELTZ_EDNY000000057920      PELTZ_EDNY000000057939

Records from AT&T                              PELTZ_EDNY000000057940      PELTZ_EDNY000000059159

Records from EKN Financial Services            PELTZ_EDNY000000059160      PELTZ_EDNY000000059295

Records from AT&T                              PELTZ_EDNY000000059296      PELTZ_EDNY000000062484

Trade blotter from Prophecy Asset
                                               PELTZ_EDNY000000062485      PELTZ_EDNY000000062485
Management

Records from BMO Harris Bank                   PELTZ_EDNY000000062486      PELTZ_EDNY000000064696


                                                   2
 Case 1:21-cr-00154-NGG Document 18 Filed 05/03/21 Page 3 of 5 PageID #: 90




                In addition, on February 22, 2021, the government provided you with a search
warrant and affidavit, which were Bates-stamped PELTZ_EDNY000000000006 through
PELTZ_EDNY000000000080. These documents were provided to defense counsel on the
condition that the defendant could not possess copies. The government hereby designates these
documents as produced subject to the terms of the Protective Order. Any prior agreements
regarding disclosure are superseded by the Protective Order.

              You may examine the physical evidence discoverable under Rule 16, including
original documents, by calling us to arrange a mutually convenient time.

       D.      Reports of Examinations and Tests

                 The government will provide you with copies of any reports of examinations or
tests in this case, if applicable, as they become available.

       E.      Expert Witnesses

                 The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R. Evid.
702, 703 and 705 and notify you in a timely fashion of any expert that the government intends to
call at trial and provide you with a summary of the expert’s opinion.

              At present, the government anticipates calling an expert at trial to testify
regarding securities terminology, securities trading analysis and the United States Securities and
Exchange Commission’s disclosure requirements, regulations and forms.

              The identity, qualifications, and bases for the conclusions of each expert will be
provided to you when they become available.

       F.      Brady Material

              The government understands and will comply with its continuing obligation to
produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny. The government is providing you a separate letter making certain disclosures in an
abundance of caution.

               Before trial, the government will furnish materials discoverable pursuant to Title
18, United States Code, Section 3500, as well as impeachment materials. See Giglio v. United
States, 405 U.S. 150 (1972).

       G.      Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance of
trial if it intends to offer any material under Fed. R. Evid. 404(b).




                                                 3
  Case 1:21-cr-00154-NGG Document 18 Filed 05/03/21 Page 4 of 5 PageID #: 91




II.    The Defendant’s Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes, tangible
objects, or copies or portions thereof, that are in the defendant’s possession, custody or control,
and that the defendant intends to introduce as evidence or otherwise rely on at trial, and (2) any
results or reports of physical or mental examinations and of scientific tests or experiments made
in connection with this case, or copies thereof, that are in the defendant’s possession, custody or
control, and that the defendant intends to introduce as evidence or otherwise rely upon at trial, or
that were prepared by a witness whom the defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order to
avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of trial.

               The government also requests that the defendant disclose a written summary of
testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and 705 of
the Federal Rules of Evidence. The summary should describe the opinions of the witnesses, the
bases and reasons for the opinions, and the qualification of the witnesses.

                Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written notice
of the defendant’s intention, if any, to claim a defense of actual or believed exercise of public
authority, and also demands the names and addresses of the witnesses upon whom the defendant
intends to rely in establishing the defense identified in any such notice.

III.   Future Discussions

                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact us.




                                                 4
  Case 1:21-cr-00154-NGG Document 18 Filed 05/03/21 Page 5 of 5 PageID #: 92




                Please be advised that, pursuant to the policy of the Office concerning plea offers
and negotiations, no plea offer is effective unless and until made in writing and signed by
authorized representatives of the Office. In particular, any discussion regarding the pretrial
disposition of a matter that is not reduced to writing and signed by authorized representatives of
the Office cannot and does not constitute a “formal offer” or a “plea offer,” as those terms are
used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye, 132 S. Ct. 1399 (2012).

                                                     Very truly yours,

                                                     MARK J. LESKO
                                                     Acting United States Attorney

                                              By:     /s/ Kaitlin T. Farrell
                                                     Kaitlin T. Farrell
                                                     Sarah M. Evans
                                                     Assistant U.S. Attorneys
                                                     (718) 254-6072/6490

Enclosures

cc:    Clerk of the Court (NGG) (by ECF) (without enclosures)




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